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                                                                                       Via ECF


 April 13, 2018


 Hon. J. Paul Oetken
 United States District Court for the Southern
 District of New York
 40 Foley Square
 New York, NY 10007

 Re:        Craig v. UMG Recordings, Inc., et al., Case No. 16 Civ. 5439 (JPO)

 Dear Judge Oetken:

 We represent Defendants UMG Recordings, Inc. (“UMG”), Estate of Riley B. King (“Estate”) and
 Kingsid Ventures , Ltd. (“Kingsid” and together with UMG and Estate, “Defendants”).

 We write pursuant to Rule 3.C. of Your Honor’s Individual Practices to request an adjournment
 of the evidentiary hearing on Plaintiff’s motion to disqualify Defendants’ expert witness Jeff
 Sedlik from April 20, 2018 to May 21, 2018, or the next available date thereafter.

 The reason for this request is that the parties are currently engaged in meaningful settlement
 discussions, which we hope will bring about a negotiated resolution of all issues in this action.
 Defendants expect that the additional time requested should be sufficient time to conclude the
 discussions with Plaintiff, and, in the event that such discussions are unsuccessful, include
 sufficient time to make travel arrangements for Mr. Sedlik, a resident of California, to appear at
 the evidentiary hearing.

 This is the first request for an adjournment of the evidentiary hearing. Plaintiff consents to the
 above-requested adjournment.

 We thank the Court for its consideration of this matter.


 Respectfully submitted,

/s/ Barry I. Slotnick
  Barry I. Slotnick
  Partner

 cc:           Richard Liebowitz, Esq. (via ECF)
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